     Case 2:13-cr-00008-WFN     ECF No. 3008    filed 11/10/14   PageID.19123 Page 1 of 1




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                           UNITED STATES DISTRICT COURT
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                         EASTERN DISTRICT OF WASHINGTON
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     UNITED STATES OF AMERICA,                     No. 2:13-CR-008-WFN-52
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10                      Plaintiff,                 ORDER GRANTING
                                                   DEFENDANT’S MOTION FOR
11 vs.                                             SUPPLEMENTAL PRETRIAL
12                                                 SERVICES REPORT
   DIAMOND LEANNE McDONALD,
13
14                      Defendant.
15         Before the Court is Defendant’s Motion for Supplemental Pretrial Services
16   Report. There appears to be good cause to order such report. Accordingly,
17         IT IS ORDERED that Defendant’s Motion, ECF No. 2997, is GRANTED.
18   Pretrial Services/Probation shall prepare a Supplemental Pretrial Services Report,
19   specifically addressing the appropriateness of Defendant’s proposed residence.
20         Following receipt of the Supplemental Report, the parties shall have five (5)
21   business days to respond.          Thereafter, Defendant may file a motion for
22   reconsideration, if appropriate.
23         DATED November 10, 2014.
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25                                   _____________________________________
                                               JOHN T. RODGERS
26                                    UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
